
224 S.W.3d 671 (2007)
In the Interest of N.K.G., Appellant,
v.
STATE of Missouri, Respondent.
No. WD 67746.
Missouri Court of Appeals, Western District.
June 5, 2007.
Jennifer Lynn Suedmeyer, Liberty, for appellant.
John Richard Shank, Jr., Kansas City, for respondent.
Before JOSEPH M. ELLIS, Presiding Judge, THOMAS H. NEWTON, Judge, and RONALD R. HOLLIGER, Judge.

ORDER
N.K.G., a juvenile, appeals a judgment modifying a prior juvenile court disposition upon the basis that she committed the offense of assault in the third degree under Section 565.070 RSMo (2000). The judgment transferred her custody from the juvenile officer to Children's Services. In her sole point on appeal, she argues that the evidence was insufficient to support the court's judgment. Whether judged under a beyond a reasonable doubt standard or preponderance of the evidence standard, see C.L.B. v. Juvenile Officer, 22 S.W.3d 233 (Mo.App.W.D.2000), the State provided sufficient evidence to prove that N.K.G. attempted to cause physical injury to another person. Affirmed. Rule 84.16(b).
